                            IN THE UNITED STATES DISTRICT COURT  
                           FOR THE NORTHERN DISTRICT OF ILLINOIS  
                                      EASTERN DIVISION 

WESTERN DIGITAL TECHNOLOGIES,                            )
INC.                                      )                     Case No. 18-cv-3453
                   Plaintiff,             )
                                          )                     Judge ​Charles P. Kocoras
                                          )
      v.                                  )                     Mag. Judge Sidney I. Schenkier
                                          )
XIAOLONG1988, et al.,                     )
                                          )
                        Defendants.       )
__________________________________________)

                      SECOND DECLARATION OF L. FORD BANISTER, II

        1.         I am an attorney at law, duly admitted to practice before the Courts of the State of

New York and the United States District Court for the Northern District of Illinois. I am one of

the    attorneys     for    Defendants   angeloliu2014, topdirectionstore and        top-security-cctv,

(collectively, the “Defendants”). This declaration is made in order to place before the Court

complete information related to and in support of Defendants’ opposition to Plaintiff’s motion

for preliminary injunction [Doc. 31] and for all purposes permitted by law. Except as otherwise

expressly stated to the contrary, I have personal knowledge of the following facts and, if called

as a witness, I could and would competently testify as follows:

Defendants’ Analysis of the Paypal Records Submitted by Plaintiff on July 26, 2018

        2.         In its memorandum of in support of its motion for a preliminary injunction, [Doc.

60] submitted on July 26, 2018, Plaintiff avers as follows:

        “A review of account activity for approximately the past six months indicates

        that 389 items totaling $44,130 were sold that include “WD” or “Western” in


                                                                                                     1
        the item title.” [Id. at 8]

        3.       Plaintiff cites as authority for the claim in paragraph 2 above the Declaration of

Rebecca Unruh [Doc. 61 at ¶ 34] which states, in pertinent part, as follows:

                 “I reviewed the transaction logs provided by PayPal for each

                 of Defendants’ PayPal accounts. I, or someone under my direction,

                 isolated the log entries for transactions where the product title

                 contained the keywords “WD” or “Western.” The data indicates that 389

                 products totaling $44,130 were sold that include “WD” or “Western”

                 in the item title.”

        4.       Defendants angeloliu2014, topdirectionstore and top-security-cctv are separate

and distinct from one another. As such, each is entitled to an individuated determination of the

scope of the asset restraint, if any, based on the sales evidence specific to them alone. Plaintiff’s

alleged review makes no attempt to differentiate between Defendants but instead lumps them

together and asks that extraordinary injunctive relief be applied to all of the without further

consideration.

        5.       Defendants conducted a thorough review and analysis of the evidence as it relates

to each Defendant. Defendants review and analysis shows that Plaintiff’s claims are overstated

and that any review allegedly undertaken by Ms. Unruh on behalf of Plaintiff was cursory at

best.

Defendants’ Analysis Specific to Defendant topdirectionstore

        6.       The Paypal records specific to Defendant topdirectionstore appear at Doc. 61-8 at

2-1063. As such, these records account for most of the 1,200 pages of Paypal transaction records



                                                                                                   2
presented by Plaintiff. The records specific to Defendant topdirectionstore, severed from those

related to its co-defendants, angeloliu2014 and top-security-cctv, are attached hereto as Exhibit

One.

       7.         I or someone under my direction and supervision searched Exhibit One for the

terms “Western” and “WD.” The search returned no results for the term “Western” and sixteen

results for “WD.” These search results are attached hereto as Exhibit Two.

       8.         The title for the items containing the term “WD” appears either as “Fujitsu 2.5"

HDD IDE PATA 40GB 5400RPM 8M Hard Disk Drive For laptop, 2.5" HDD IDE PATA 40GB

4200RPM Hard Disk Drive For laptop Hitachi Toshiba WD” or “2.5" HDD IDE PATA 40GB

4200RPM Hard Disk Drive For laptop Hitachi Toshiba WD.” Gross revenue from sales of these

items is $732.10 with net revenues at $703.86. [Ex. 2 at 2]

       9.         I or someone under my direction and supervision searched Plaintiff’s website.

This search revealed that Plaintiff does not offer hard drive disks with memory of less than

250GB. Thus, while the item title included in Exhibit 2, which includes the brand names

“Hitachi Toshiba WD” may be mislabeled with the term “WD,” the items sold could not be

Plaintiff’s products as Plaintiff does not produce or offer for sale items meeting these

specifications.

Defendants’ Analysis Specific to Defendant top-security-cctv

       10.        The Paypal records specific to Defendant top-security-cctv appear at Doc. 61-8 at

1064-1140. The records specific to Defendant top-security-cctv,, severed from those related to its

co-defendants, angeloliu2014 and topdirectionstore, are attached hereto as Exhibit Three.




                                                                                                 3
        11.    I or someone under my direction and supervision searched Exhibit Three for the

terms “Western” and “WD.” The search returned a single result for the term “Western” and three

hundred thirteen (313) results for “WD.” These search results are attached hereto as Exhibit

Four.

        12.    Review of the search results contained in Exhibit Four show that of the 314 Items

containing either search term, only a single result, bearing the title “4TB HDD Western Digital

WD Purple 3.5" High Quality Urveillance Hard Disk Driver” [Ex. 4 at 2] actually bears

Plaintiff’s name. The remaining 313 items in which the term “WD” appears denote products

made by the manufacturer Hikvision. [Id. at 3-12] The term WD does not appear to describe the

item but appears in the context of serial or model numbers. Examples of the item titles, which

repeat multiple times, are as follows:

        a)     For Item 1: “HIKVISION 4MP POE Wifi Fisheye Dome IP Camera Built-in Mic

               DS- 2CD2542F​WD​-IWS 4mm;” [Id. at 3] [Emphasis Added]

        b)     For Item 2: “Hikvision Original DS- 2CD2342​WD​-I 4MP IP67 POE

               Security IP Camera EXIR 2.8mm;” [Id.] [Emphasis Added]

        c)     For Item 3: “Hikvision 5MP IP67 POE Outdoor MINI Bullet Security Camera

               DS- 2CD2055F​WD​-I 2.8mm [DS-2CD2055FWD-I 2.8mm]; [Id.] [Emphasis

               Added]

        d)     For Item 4: “Hikvision 4MP Outdoor Dome Security IP Camera POE HD 1080P

               DS-2CD2142F​WD​-I 2.8mm.” [Id.] [Emphasis Added]




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Defendants’ Analysis Specific to Defendant angeloliu2014

       13.     The Paypal records specific to Defendant top-security-cctv appear at Doc. 61-8 at

1143-1200. The records specific to Defendant angeloliu2014, severed from those related to its

co-defendants, top-security-cctv and topdirectionstore, are attached hereto as Exhibit Five.

       14.     I or someone under my direction and supervision searched Exhibit Five for the

terms “Western” and “WD.” The search returned no results for the term “Western” and nineteen

(19) results for “WD.” These search results are attached hereto as Exhibit Six.

       15.     Review of the nineteen items shown included in Exhibit Six, nine titles suggest

that they may be Plaintiff’s products. [Ex. 6 at 2] These items bear the title “WD800BB 3.5"

80GB 7200RPM 2M PATA IDE HDD Hard Disk Driver FOR Desktop.” Gross revenue for

these items is $560.90 with net revenues of $536.33.

       16.     The remaining ten items do not appear to indicate sales of Plaintiff’s products but

rather of accessories for Plaintiff’s products. All of these results bear the title “50pcs

15cm*10.5cm ESD Anti-Static Bags ​For 2.5" WD HDD Hard Disk Drive Packing” [Id. at 3]

[Emphasis added]

Defendants’ Analysis of the Paypal Records Submitted by Plaintiff on August 2, 2018

       17.     In its supplemental memorandum of in support of its motion for a preliminary

injunction, [Doc. 68 at 1] submitted on August 2, 2018, Plaintiff avers as follows:

       “On July 31, 2018, PayPal provided Western Digital with additional transaction

       logs for each of the Defendants, which has been [​sic]​ analyzed in conjunction

       with the previously available logs. Review of the updated data now indicates

       that Defendants sold 475 products totaling $45,350 that include “WD” or



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       “Western Digital” in the item title.”

       18.     Plaintiff cites as authority for the claim in paragraph 17 above the Supplemental

Declaration of Rebecca Unruh [Doc. 69 at ¶ 3] which states, in pertinent part, as follows:

       “I reviewed additional transaction logs provided by PayPal, Inc. (“PayPal”)

       on July 31, 2018. I, or someone under my direction, isolated the log

       entries for transactions where the product title contained the keywords “WD”

       or “Western Digital.” The updated data, which was analyzed in conjunction

       with the previously available transaction logs, now indicates that Defendants

       sold 475 products totaling $45,350 that include “WD” or “Western Digital”

       in the item title.”

       19.     Defendants’ review reveals that the Paypal records, totalling 2,967 pages in

length, that Plaintiff put on record [Doc. 69 at Ex. 1] do not, as alleged by Plaintiff in its

memorandum [Doc. 68 at 1] and Ms. Unruh in her sworn declaration, [Doc. 69 at ¶ 3] contain

transaction logs for each of the Defendants.

       20.     Rather, transaction logs specific to Defendant topdirectionstore appear at Doc.

69-1 at 2-1,653. These records are attached hereto as Exhibit Seven.

       21.     I searched the Exhibit Seven for the terms “Western” and “WD.” No results from

this search appear to be related to Plaintiff’s products.

       22.     Transaction logs specific to Defendant angeloliu2014 appear at Doc. 69-1 at

1,654-2,310. These records are attached hereto as Exhibit Eight.

       23.     Records related to Defendant angeloliu2014 also appear at Doc. 69-1 at

2,311-2,967. These records are identical to those presented at Doc. 69-1 at 1,654-2,310 and



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attached hereto as Exhibit 8. The records related to Defendant angeloliu2014 that appear at Doc.

69-1 at 2,311-2,967 are attached hereto as Exhibit 9.

       24.     I or someone under my direction and supervision searched Exhibits 8 and 9 for

the terms “Western” and “WD.” The search returned no results for the term “Western” and

two-hundred and seventy-six (276) results for “WD” between July 22, 2015 and June 18, 2018.

These search results are attached hereto as Exhibit Ten.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on this the 6th day of August, 2018 at Shenzhen, Guangdong, China.

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